                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                v.                              )
                                                )        3:12 CR 00159
CHAD EDWARD WARRICK,                            )        Judge Marvin E. Aspen
ANGELA CAMARDA, and                             )
CYNTHIA FAYE HEINZ,                             )
                                                )
                Defendants.                     )

                                                ORDER

         We have reviewed Defendant Warrick’s pending motions, filed April 4, 2014.

Defendant’s Motion for Leave to File Under Seal is granted (Dkt. No. 83).

         We also grant Defendant’s unopposed motion requesting a continuance of the trial set for

April 29, 2014 (Dkt. No. 82). Defendant filed a Waiver of Speedy Trial (Dkt. No. 85), and he

consents to continuance of the trial until a later date. Accordingly, the April 29, 2014 trial date is

stricken, along with all deadlines for the filing of pretrial materials.

         A preliminary pretrial conference will be held on Monday, April 28, 2014 at 9:30 a.m. At

the conference, we will set a new trial date.



                                                         SO ORDERED:



                                                         Marvin E. Aspen
                                                         United States District Judge


Dated:          Chicago, Illinois
                April 7, 2014




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